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       10
                                  IN THE UNITED STATES BANKRUPTCY COURT
       11
                                        EASTERN DISTRICT OF CALIFORNIA
       12
       13                                           FRESNO DIVISION

       14     In re                                         CASE NO. 18-11651

       15          GREGORY JOHN TE VELDE,                   Chapter 11
       16                   Debtor.                         MCN: MB-3
       17
              RANDY SUGARMAN, LIQUIDATING                   Adv. Proc. No.: 19-01033
       18     TRUSTEE,
                                                            Date:    October 26, 2022
       19                 Plaintiff,                        Time:    11:00 a.m
              v.                                            Place:   2500 Tulare Street
       20                                                            Fresno, CA 93721
       21     IRZ CONSULTING, LLC; aka IRZ                           5th Floor, Courtroom 13
              CONSTRUCTION DIVISION, LLC                    Judge:   Honorable Rene Lastreto
       22
                          Defendant.
       23
       24     AND RELATED THIRD PARTY
              COMPLAINT
       25
       26    MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF PLAINTIFF’S
                      MOTION FOR PARTIAL SUMMARY JUDGMENT
       27
       28

            MEMORANDUM OF POINTS AND
            AUTHORITIES IN SUPPORT OF PLAINTIFF’S
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        1
                                                    INTRODUCTION

        2          The Plaintiff Trustee’s Complaint in this action has two components. The first is
        3 to disallow IRZ Consulting, LLC’s the Proof of Claim for $347, for the unpaid balance
        4
            of the construction services it and its affiliate IRZ Construction Division, LLC provided
        5
        6 to the Debtor. The second is the Trustee’s eight figure claim for damages against IRZ for
        7 construction defects on the project.
        8
                   This Motion for Partial Summary Judgment addresses the first component only.
        9
            The Plaintiff Trustee will show that IRZ’s Proof of Claim must be disallowed in full
       10
       11 because it did not have a valid Oregon contractor’s license for the first two months of the
       12 job. This bars any monetary recovery and lien rights for the entire job pursuant to Oregon
       13
            Rev. Statutes 701.131(b)(1).
       14
       15                      FACTUAL AND PROCEDURAL BACKGROUND

       16
                   The facts relevant to this Motion are not subject to good faith dispute.
       17
       18          On September 30, 2015, “IRZ Construction Division, an Oregon limited liability

       19 company (ICD)” and Greg Tevelde executed a “Work Order” on an IRZ form providing
       20
            that ICD would provide certain construction design services to te Velde for the “Willow
       21
            Creek Dairy” for the estimate price of $100,000.00. (SUF 1 & 2). The key fact
       22
       23 supporting this Motion is that as of September 30, 2015, ICD was neither a duly
       24 organized Oregon limited liability company, nor did it have a contractor’s license issued
       25
            by the State of Oregon. (SUF 3). Nonetheless, it proceeded to perform the construction
       26
            services identified in the “Work Order”.
       27
       28

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        1
                   It belatedly corrected this problem. On November 17, 2015, “IRZ Construction

        2 Division (ICD), (a division of IRZ Consulting LLC)” and te Velde entered into a new
        3 agreement entitled “Design, Engineer, and Project Management Services for Greg
        4
            Tevelde Willow Creek Dairy Construction Project November 2015” on an IRZ form
        5
        6 providing that IRZ would perform 21 separate construction related tasks for the Willow
        7 Creek Dairy “…an approximately 9,000 acre farm currently being used to grow trees
        8
            approximately 12 miles Southeast of Boardman Oregon…” The November 17 Agreement
        9
            was executed by Fred Ziari on behalf of “IRZ Consulting, LLC (d/b/a IRZ Construction
       10
       11 Division through Wayne Downey as Director of Construction). (SUF 4 & 5).           IRZ

       12 Consulting, LLC was duly licensed and organized at the time. (SUF 6).
       13
                   Te Velde defaulted on his obligation to timely pay for IRZ/ICD’s services (SUF
       14
            7), and on July 12, 2017, ICD and IRZ stopped their work on the project. On September
       15
       16 25, 2017, “IRZ Consulting, LLC” filed an Oregon form “Construction Claim of Lien” on
       17 the project, alleging that it “furnished labor, equipment, material, services, supervision,
       18
            and plans, drawings and surveys actually used in the construction of improvements” on
       19
            the subject real property “…commencing on or about September 30, 2015.” (SUF 8).
       20
       21          On November 2, 2017, “IRZ Consulting, LLC filed a “Complaint Construction

       22 Lien Foreclosure; Breach of Contract; Quantum Meruit” against the Debtor and others,
       23
            seeking the principal sum of $393,476.81 for the cost of “..labor, equipment, material,
       24
            services, supervision, plans, drawings, and surveys…used for the benefit of the Property”
       25
       26 from “ September 30, 2015 through August 3, 2017.” The Complaint attached both the
       27 9/30/15 and 11/17/15 Agreements as exhibits. (SUF 9).
       28

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        1
                   On April 26, 2018 the Debtor filed a voluntary petition for relief under Chapter 11

        2 in this Court. (SUF 10). On June 4, 2018, IRZ Consulting, LLC filed its Proof of
        3 Secured Claim in the amount of $347,057.56 in this Chapter 11 case, attaching its
        4
            11/2/17 mechanics’ lien complaint as an exhibit. (SUF 11). On September 21, 2018, Mr.
        5
        6 Sugarman was appointed the Chapter 11 Trustee
        7          On February 11, 2019, the Plaintiff Trustee sold the Property subject to IRZ’s
        8
            mechanics’ lien pursuant to an “Order Authorizing Sale of Real Property Free and Clear
        9
            of Liens”. (SUF 12). On March 25, 2019, the Court entered an Order directing the
       10
       11 Trustee to disburse most of the sales proceeds of the Lost Valley Farm to various parties
       12 in interest. However, the Court directed the Trustee to hold back funds to provide
       13
            “adequate protection” to IRZ on account of its disputed secured claim (“the Holdback
       14
            Fund”). The current balance of the Holdback Fund is approximately $659,323.00. (SUF
       15
       16 13).
       17          On March 8, 2019, the Trustee filed the instant action against IRZ. The Trustee’s
       18
            Complaint alleges claims for (1) Objecting to Claim; (2) For Damages For Breach of
       19
            Contract; (3) For Damages For Negligence, and; (4) For Avoidance of Fraudulent
       20
       21 Transfers. The First Claim for Relief of the Complaint seeks to disallow the IRZ Proof of
       22 Claim in full. (SUF 14). IRZ denies all of the charging allegations of the Complaint.
       23
            After over 3 years of law and motion and discovery, this Motion follows.
       24
       25                                           ARGUMENT
       26          1.      SUMMARY JUDGMENT STANDARD
       27
       28

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        1
                   Bankruptcy Rule 7056 and F.R.Civ.P 56 require summary judgment for the

        2 moving party when the evidence, viewed in the light most favorable to the nonmoving
        3 party, shows that there is no genuine issue as to any material fact, and that the moving
        4
            party is entitled to judgment as a matter of law, Tarin v. County of Los Angeles 123 F.3d
        5
        6 1259, 1263 (9th Cir. 1997). The moving party bears the initial burden of establishing the
        7 absence of a genuine issue of material fact, Celotex Corp. v. Catrett 477 U.S. 317, 323-
        8
            324, 106 S.Ct. 2548, 2553, 91 L.Ed 2d 265 (1986).
        9
                   That burden may be met by “showing” — that is, pointing out to the court — that
       10
       11 there is an absence of evidence to support the nonmoving party’s case, id at 325, 106 Sct.
       12 at 2554. Once the moving party has met its initial burden, Rule 56(e) requires the
       13
            nonmoving party to go beyond the pleadings and identify facts that show a genuine issue
       14
            for trial, Anderson v., Liberty Lobby, Inc. 477 U.S. 242, 248, 106 S.Ct. 2505, 2510, 91
       15
       16 L.Ed 2d 202 (1986).
       17          In deciding a motion for summary judgment, the Court is not obligated “to scour
       18
            the record in search of a genuine issue of triable fact. [The Court relies] on the
       19
            nonmoving party to identify with reasonable particularity the evidence that precludes
       20
                                                                  th
       21 summary judgment.” Kennan v. Allen 91 F.3d 1275, 1279 (9 cir. 1996). Only genuine
       22 disputes — where the evidence is such that a reasonable trier of fact could return a
       23
            decision for the nonmoving party will properly preclude the entry of summary judgment,
       24
            Anderson, supra, at 477 U.S. p. 248, 106 S.Ct. at 2510; see also Arpin v. Santa Clara
       25
                                                            th
       26 Valley Transportation Agency, 261 F.3d 912, 919 (9 Cir. 2001).
       27          F.R.Civ.P. 56(g) provides that when summary judgment as to the entire case is
       28
            inappropriate, the Court “...may enter an order stating that any material fact – including
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        1
            an item of damages or other relief – that is not genuinely in dispute and treating the fact

        2 as established in the case.
        3          As noted above, virtually all of the facts relevant to the Trustee’s claims for relief
        4
            in this action are drawn from the allegations of IRZ’S Proof of Claim and other
        5
        6 documents prepared by it and its counsel. The issues in dispute are legal ones. This is
        7 exactly the type of case for which summary adjudication is appropriate.
        8
        9          2.       IRZ’S CLAIM AND LIEN ARE UNENFORCEABLE
                            AGAINST THE ESTATE BECAUSE IT WAS NOT
       10                   CONTINUOUSLY LICENSED THROUGHOUT THE WORK
                            OF IMPROVEMENT
       11
       12          Like California, Oregon strictly bars unlicensed contractors from enforcing liens

       13 or otherwise collecting unpaid bills from property owners, even if there is nothing wrong
       14
            with the work. Oregon Rev. Statutes § 701.131(1) states:
       15
       16               (1) Except as provided in subsection (2) of this section, a contractor may
       17               not perfect a claim of a construction lien, …or commence an arbitration
                        or court action for compensation for the performance of any work or for
       18               breach of any contract for any work that is subject to this chapter, unless
       19               the contractor had a valid license issued by the board:

       20               (a) At the time the contractor bid or entered into the contract for the
                        performance of the work; and
       21
       22               (b) Continuously while performing the work for which compensation is
                        sought.”
       23
       24          Thus, in Pincetich v. Nolan, 252 Or.App. 42, 285 P.3d 759 (2012) a contractor

       25 agreed to build a house for a developer for $286,271.00. In the middle of the job, the
       26
            contractor’s license was suspended for 14 days because his insurance lapsed. The
       27
            contractor quickly reinstated both the insurance and the license and continued to work for
       28

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        1
            another six months to complete the residence. The developer refused to pay for the work,

        2 and the contractor sued, but the trial court granted summary judgment to the developer
        3 dismissing the complaint because of the lapse in the contractor’s license. The Oregon
        4
            Court of Appeal affirmed, stating at pp. 46-47:
        5
        6
                      [B]ecause plaintiff was not continuously licensed while performing
        7             construction work pursuant to the parties’ contract, ORS 701.131(1)(b)
                      bars him from commencing an action for compensation for that work…
        8
        9             The purpose of ORS chapter 701 is to protect consumers from
                      irresponsible builders. [citation] ORS 701.131(1)(b) is one of the
       10             provisions in chapter 701 that the legislature adopted to do that. It serves
       11             to deter unlicensed contractors from performing construction work by
                      denying them the ability to pursue claims for compensation for their
       12             work.”
       13
       14          The rule of Pincetich was tightened in Stellar J Corp. v. Smith & Loveless, 580
       15 Fed.Appx. 604 (9th Cir. 2014), applying Oregon law. There, a contractor sued a
       16
            subcontractor for delay damages. The subcontractor counterclaimed for monies alleged
       17
       18
            due on the subcontract. It turned out that the subcontractor, a Kansas corporation, did not

       19 have an Oregon contractor’s license when it provided the labor and materials to the job.
       20 Following Pincetich the Ninth Circuit held that the subcontractor was barred from
       21
            pursuing its monetary claim. The Ninth Circuit went on to reject all of the theories raised
       22
       23 by the subcontractor to avoid the bar of ORS 701.131(1). First it held that the statute
       24 barred not only a complaint for sums due, but also a counterclaim or “any proceeding
       25
            judicial in its nature”. Second, it rejected the contention that the subcontractor was
       26
            simply a supplier of equipment and not a “contractor” noting that the definition of
       27
       28 “contractor” under Oregon law was one who performs work “attached to real estate”

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        1
            citing ORS 700.005(5)(a). Third, it rejected the claim that the contractor was equitably

        2 estopped from relying on ORS 701.131(1) because it allegedly knew that the
        3 subcontractor was unlicensed. Finally, it refused to allow the subcontractor to split its
        4
            claim and recover the cost of the equipment it provided, even if it could not recover the
        5
        6 cost of services. In short, Stellar J Corp. closed all of the loopholes.
        7           Here, according to all of the official documents filed by IRZ, sworn and unsworn,
        8
            there was one “work of improvement”, starting on September 30, 2015. It says that in the
        9
            “Claim of Construction Lien” recorded prior to the state court complaint; it says that in
       10
       11 the state court complaint; and it says that in the Proof of Claim filed by IRZ in the Main
       12 Case. But the initial bid and the first six weeks of labor and materials were provided by a
       13
            non-existent, unlicensed entity “IRZ Construction Division, LLC, an Oregon limited
       14
            liability company”. This bars IRZ from enforcing its purported lien on the Holdback
       15
       16 Fund and bars it from recovering any sums on its Proof of Claim. It is a simple black and
       17 white issue.
       18
            ///
       19
            ////
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        1
                                                    CONCLUSION

        2          Unlicensed contractors cannot perfect liens and they cannot sue for sums owed.
        3 The Trustee is entitled to partial summary judgment disallowing IRZ’s claim and
        4
            releasing its replacement lien on the Holdback Fund.
        5
        6 Dated: September 5, 2022                     Respectfully submitted,
        7                                              WANGER JONES HELSLEY PC
        8                                              And
        9
                                                       MacCONAGHY & BARNIER, PLC
       10
       11
                                                             /s/ John H. MacConaghy
       12                                              By: ________________________
                                                           John H. MacConaghy
       13                                                  Attorneys for Plaintiff
                                                           Randy Sugarman,
       14                                                  Liquidating Trustee
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